Case 3:05-cr-30133-DRH              Document 39       Filed 09/26/05    Page 1 of 1      Page ID #67
                                                                                      FILED
                                                                                       SEP 2 3 2005
                         IN THE UNITED STATES DISTFUCT COURT                           CLIFFORD J. PROUD
                                                                                     US. MAGSTRATEJUDGE
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS                    SOUTHERN DISTRICT  OF ILUNOIS
                                                                                      W T fl.LOUS OFFICE

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,
                                                  )
       VS.                                        )     CRIMINAL NO. 05-30133-DRH

TALIA PITTMAN,

                       Defendant.                 )

                                            ORDER

PROUD, Magistrate Judge:

       In connection with her detention hearing, defendant has represented to the Court that she

is pregnant. In order to verify same, and with defendant's consent, the Court hereby ORDERS

Eric Ivers, director of the Arms of Love Clinic, Alton, Illinois, to produce the results of a

pregnancy test performed on Talia Pittman, dloh May 6,1975, on or about September 19,2005.

        The record shall be immediately faxed to Judge Proud's chambers at 6181482-(9 D I 0 ,

        IT IS SO ORDERED.

        DATE: September 23,2005.




                                               UNITED STATES MAGISTRATE JUDGE
